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            Exhibit 5
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From: McIntyre, Brenda
Sent: Tuesday, January 20, 2015 11:45 AM
To: Hyman, Shari; Serpico, Robert; McCabe, Kevin; Jones Benjamin
Subject: Deshay




Morning


On Friday I got a phone call on my personal cell with a no caller id response. I did not pick up. However today I
listened to my vm and one was from Steven Greer telling me de shay was out of line with the security at the marina

and letting me know I have been informed.


Sent from my iPhone




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